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                                         EXHIBIT 1

                             Declaration of Thomas P. Jeremiassen




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                  Chapter 11
In re:
                                                                  Case No. 17-12560 (JKS)
WOODBRIDGE GROUP OF COMPANIES, LLC, et
al.,1                                                             (Jointly Administered)
                                  Remaining Debtors.


     DECLARATION OF THOMAS P. JEREMIASSEN IN SUPPORT OF THIRTY-
    SEVENTH (37TH) OMNIBUS (NON-SUBSTANTIVE) OBJECTION TO CLAIMS
          PURSUANT TO SECTION 502 OF THE BANKRUPTCY CODE,
        BANKRUPTCY RULE 3007, AND LOCAL RULES 3007-1 AND 3007-2

I, Thomas P. Jeremiassen, pursuant to 28 U.S.C. § 1746, declare:

         1.      I am a Senior Managing Director of Development Specialists, Inc. (“DSI”), located

at 333 S. Grand Avenue Suite 4100, Los Angeles, California 90071. Following the “Effective

Date” of the First Amended Joint Chapter 11 Plan of Liquidation of Woodbridge Group of

Companies, LLC and Its Affiliated Debtors (the “Plan”), DSI has been engaged to provide forensic

accounting and financial advisory services to the Woodbridge Wind-Down Entity LLC (the

“Wind-Down Entity”) and the Woodbridge Liquidation Trust (the “Trust”).

         2.      Prior to the “Effective Date” of the Plan, I supported the Chief Restructuring

Officer of WGC Independent Manager LLC, a Delaware limited liability company (“WGC

Independent Manager”), which was the sole manager of Woodbridge Group of Companies, LLC,

a Delaware limited liability company and an affiliate of each of the entities that were debtors and




1
    The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
    follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
    (0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California
    91423.


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debtors in possession (each, a “Debtor” and collectively, the “Debtors”) in the above-captioned

jointly administered chapter 11 cases (the “Chapter 11 Cases”).

        3.       On February 13, 2018, the Court entered an order authorizing the Debtors to retain

and employ DSI as their restructuring advisor. In such capacity, I became familiar with the day-

to-day operations and financial affairs of the Debtors. I was one of the individuals responsible for

implementing the Debtors’ wind-down and liquidation strategies and overseeing the Debtors’

financial and operational affairs. I have been consistently involved in or am familiar with the

Debtors’ wind-down activities and development of the Plan.

        4.       I submit this declaration in support of the Thirty-Seventh (37th) Omnibus (Non-

Substantive) Objection to Claims Pursuant to Section 502 of the Bankruptcy Code, Bankruptcy

Rule 3007, and Local Rules 3007-1 and 3007-2 (the “Objection”).2

        5.       I am one of the persons responsible for overseeing the claims reconciliation and

objection process in these Chapter 11 Cases. Considerable resources and time have been expended

in reviewing and reconciling the proofs of claim filed or pending against the Debtors and their

estates in the Chapter 11 Cases. The Disputed Claims were carefully reviewed and analyzed in

good faith utilizing due diligence by the appropriate personnel and representatives of the Debtors,

the Trust, and the Wind-Down Entity. These efforts resulted in the identification of the Disputed

Claims.

        6.       The information contained in Exhibits A and B to the Proposed Order is true and

correct to the best of my knowledge, information, and belief.

        7.       Through a review of the claims register maintained by the claims and noticing agent

in these Chapter 11 Cases, the Disputed Claims, the Ballots, and the Trust’s books and records,


2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Objection.

                                                       2
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the Trust has determined that each of the Disputed Claims on Exhibit A to the Proposed Order is

a claim (i) in respect of Notes and/or Units filed by a claimant who did not elect to dispute the

amount of such claimant’s Net Note Claim and/or Net Unit Claim in accordance with the Court’s

Disclosure Statement Order and (ii) for which another proof of claim (the “Remaining Claim”)

was filed by the claimant amending the Disputed Claim. The Remaining Claims, which are not

being modified by the Objection and will remain on the claims register, were the subject to another

prior omnibus objection reconciling the amount of that Remaining Claim to the amount set forth

on the claimant’s Ballot, and the claimant also did not oppose that prior objection. In certain

limited cases, the Debtors and the respective claimants agreed to modify the calculation of such

claimant’s Net Note Claim and/or Net Unit Claim from the amount set forth on the respective

Ballot to a different amount, pursuant to a written stipulation or settlement agreement entered into

with the respective claimant and the Remaining Claim reflects that agreed upon amount.

        8.       The Disputed Claims on Exhibit A set forth a claim amount that is different from

the Debtors’ calculations of the amount of the respective Net Note Claim and/or Net Unit Claim

as set forth on the applicable undisputed Remaining Claim. To conform the claims register to the

Trust’s books and records, the Plan, and the respective undisputed Ballots submitted by these

claimants or other writing agreed to by these claimants, as applicable, the Objection seeks to

expunge the Disputed Claims identified on Exhibit A.           The Objection does not affect the

Remaining Claims, which will survive on the Claim Register in the amount set forth on the

applicable undisputed Ballot or otherwise agreed to in writing by the claimant for the respective

Net Note Claim and/or Net Unit Claim.

        9.       Through a review of the claims register maintained by the claims and noticing agent

in these Chapter 11 Cases, the Disputed Claims, the Ballots, and the Trust’s books and records,



                                                  3
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the Trust has determined that each of the Disputed Claims on Exhibit B to the Proposed Order is

(i) a claim in respect of Notes and/or Units filed by a claimant who did not elect to dispute the

amount of such claimant’s Net Note Claim and/or Net Unit Claim in accordance with the Court’s

Disclosure Statement Order and (ii) sets forth a claim amount that is different from the Debtors’

calculations of the amount of the respective Net Note Claim and/or Net Unit Claim as set forth on

the applicable undisputed Ballot. To conform the claims register to the Trust’s books and records,

the Plan, and the respective undisputed Ballots submitted by these claimants, the Objection seeks

to make modifications to the Disputed Claims identified on Exhibit B to indicate that each such

Disputed Claim is in the amount set forth on the applicable undisputed Ballot for the respective

Net Note Claim and/or Net Unit Claim.

        I declare under penalty of perjury that the foregoing information is true and correct to the

best of my knowledge, information and belief.



Executed on October 6, 2023
                                              /s/ Thomas P. Jeremiassen
                                              Thomas P. Jeremiassen




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                                      EXHIBIT 2

                                    Proposed Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   Chapter 11
In re:
                                                                   Case No. 17-12560 (JKS)
WOODBRIDGE GROUP OF COMPANIES, LLC, et
al.,1                                                              (Jointly Administered)
                                   Remaining Debtors.              Ref. Docket No. ____


    ORDER SUSTAINING THIRTY-SEVENTH (37TH) OMNIBUS (NON-SUBSTANTIVE)
     OBJECTION TO CLAIMS PURSUANT TO SECTION 502 OF THE BANKRUPTCY
       CODE, BANKRUPTCY RULE 3007, AND LOCAL RULES 3007-1 AND 3007-2

                  Upon consideration of the Thirty-Seventh (37th) Omnibus (Non-Substantive)

Objection to Claims Pursuant to Section 502 of the Bankruptcy Code, Bankruptcy Rule 3007, and

Local Rules 3007-1 and 3007-2 (the “Objection”)2 and the Jeremiassen Declaration; and it

appearing that this Court has jurisdiction to consider the Objection pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware dated as of February 29, 2012; and it appearing that venue of these Chapter

11 Cases and the Objection in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

it appearing that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court

having determined that the relief requested in the Objection is in the best interests of the Trust, its

beneficiaries, and other parties in interest; and it appearing that notice of the Objection was good

and sufficient upon the particular circumstances and that no other or further notice need be given;

and upon the record of these Chapter 11 Cases; and after due deliberation thereon and good and


1
     The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
     follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
     (0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California
     91423.
2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
     Objection.


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sufficient cause appearing therefor; it is hereby ORDERED, ADJUDGED, AND DECREED

THAT:

                 1.          The Objection is SUSTAINED, as set forth herein.

                 2.          The Disputed Claims identified on Exhibit A to this Order are expunged as

set forth on Exhibit A with respect to each such Disputed Claim. The Remaining Claims are not

affected by this Order.

                 3.          The Disputed Claims identified on Exhibit B to this Order are modified as

set forth on Exhibit B with respect to each such Disputed Claim.

                 4.          The Trust’s objection to each Disputed Claim addressed in the Objection

constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014. This Order

shall be deemed a separate Order with respect to each claim. Any stay of this Order pending appeal

by any of the claimants subject to this Order shall only apply to the contested matter which involves

such claimant and shall not act to stay the applicability and/or finality of this Order with respect to

the other contested matters covered hereby.

                 5.          The Debtors’ claims agent is directed to modify the official claims register

it maintains to comport with the relief granted by this Order.

                 6.          Any and all rights of the Trust to amend, supplement, or otherwise modify

the Objection and to file additional objections to any and all claims filed in these Chapter 11 Cases,

including, without limitation, any and all of the Disputed Claims, shall be reserved. Any and all

rights, claims, and defenses of the Trust with respect to any and all of the Disputed Claims shall

be reserved, and nothing included in or omitted from the Objection is intended or shall be deemed

to impair, prejudice, waive, or otherwise affect any rights, claims, or defenses of the Trust with

respect to the Disputed Claims.



                                                      2
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                 7.          This Court shall retain jurisdiction and power over any and all affected

parties with respect to any and all matters, claims, or rights arising from or related to the

implementation or interpretation of this Order.




                                                     3
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                                                 EXHIBIT A1




1
    Capitalized terms used but not otherwise defined on Exhibit A shall have the meanings ascribed to such terms in
    the Objection.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   AARON ROTTENSTEIN              77           631             96,372.23 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ABRAHAM ZELIG(K)               200          1934            28,780.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ALAN AND MARLENE
                                 7836          6541           185,659.54 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   GORDON
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ALEXANDER C &
                                 1450         4276             56,361.08 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   MARGARET M KONCZEY
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ALEXANDER C KONCZEY           1449         4277             45,291.63 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ALLAN M MCDONALD               235         3571             48,625.02 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   AMY E ILIFFE                   801         2080             61,403.33 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ANDREA M CORKHILL              211         8138             24,260.42 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ANTHONY CAMPITIELLO &
                                 2616         7042            105,311.88 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   CAMILLE CAMPITIELLO
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ANTHONY CAMPITIELLO &
                                  276         7042            105,311.88 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   CAMILLE CAMPITIELLO
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ANTHONY J FEISTHAMEL          1912         3595             22,485.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   AUDREY L ANSTEY-
                                 2212         7742             25,000.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   SCHMOLLER
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   AUTUMN ANKENBAUER             3492         7179             26,662.50 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   AUTUMN ANKENBAUER              858         7179             26,662.50 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   AVIJIT & JASSY R
                                  47          2554             94,774.34 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   MUKHERJEE
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   BARBARA A BRUNSWICK            808         3873            210,779.38 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   BERNARD TOBIN & CECILE
                                  554         8075             49,200.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   TOBIN
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   BETTY & GREG JANDT            1834         5870             39,798.55 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   BETTY LU DUNNE                 282         8077            290,666.67 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   BIBBIE-ANN RANCK IRA           929         6903            121,978.89 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   BILL HESS                     1781          7560            57,516.66 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   BILL HESS                     1782          7560            57,516.66 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   BRAD A KELLER                  807         1134            267,273.24 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   BRENDA KAY RAY                1868         5410            169,320.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   BRUCE D JERVE                 2911         3702             40,808.98 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
   BRUCE W ELEY                                                          The claim is being expunged because it was amended by a claim that was subsequently filed by
   REVOCABLE TRUST DATED         2112          4657           422,652.97 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   APRIL 14, 2016                                                        Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
   BRUCE W ELEY                                                          The claim is being expunged because it was amended by a claim that was subsequently filed by
   REVOCABLE TRUST DATED         2169          4657           422,652.97 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   APRIL 14, 2016                                                        Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
   BRUCE W ELEY                                                          The claim is being expunged because it was amended by a claim that was subsequently filed by
   REVOCABLE TRUST DATED         2170          4657           422,652.97 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   APRIL 14, 2016                                                        Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
   BRUCE W ELEY                                                          The claim is being expunged because it was amended by a claim that was subsequently filed by
   REVOCABLE TRUST DATED         2171          4657           422,652.97 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   APRIL 14, 2016                                                        Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   BURNETT FAMILY
                                  846         9097             87,780.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   IRREVOCABLE TRUST
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   BYRON T EDDY II               1984         2800             86,409.07 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CAMPBELL FAMILY TRUST
                                 2474         3469             47,336.84 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   DATED 10/30/2002
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CAREY L CALHOUN               1153         7514             24,548.25 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CAROLINA CRETELLA             1898          4148           191,902.71 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CAROLINA CRETELLA             1899          4148           191,902.71 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CAROLYN BEATTY                1001         7180             29,908.33 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CAROLYN DIEHL                  755          3917           157,281.25 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CAROLYN J TOWER               2460         8897             90,549.33 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CHARLENE AND RICHARD
                                 1003         7177             94,444.40 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   HUNKINS
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CHARLES E COOPRIDER           2686          3063           213,526.42 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CHARLES E COOPRIDER           2687          3063           213,526.42 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CHARLES E COOPRIDER           2688          3063           213,526.42 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CHARLES FRONTERA IRA           167         3513            126,345.02 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CHARLES FRONTERA IRA           252         3513            126,345.02 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CHRISTOPHER MARSTON &
                                 1687         3575            131,856.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   DANA LEE MARSTON
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CLINTON J CARROUGHER           248         8114             24,572.23 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CONGREGATION BYRUCH
                                  185         1895            133,958.33 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   MOUSHE INC
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CONGREGATION IMERI ZVI         280         1894             87,444.49 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CONGREGATION KEREN
                                  173         1893            400,000.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   V'YOEL MOISHE
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CONNIE FELDICK
                                  236         6288             24,275.71 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   SINGLETON
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CRAIG K PEARSALL               931         6883            198,763.89 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CRAIG K PEARSALL               932         6883            198,763.89 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CYNTHIA L AKERS               1653          5370           419,530.27 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   CYNTHIA L BURNS                61           232             75,432.08 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DAISY C CARIAGA                575         4184             24,423.59 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DALE A TUETY                  9577          9504           182,716.29 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DALE A TUETY                  9582          9504           182,716.29 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DANIEL J COWSER               1071         2285             80,000.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DARRALYN ALEXANDER             572         7281             41,113.79 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DAVID & MARGARET
                                 1244         3891             26,838.33 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   HILLER
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DAVID & PEGGY HOLMES           729         8298             99,611.11 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DAVID A YETTER                1792         2667             28,676.17 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DAVID BAKAY                    910         7185             39,555.55 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DAVID D & LANA SABOT          2333         9586            138,320.82 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DAVID J ENGELBERT AND
                                  555          1020            96,966.67 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   JUDITH J ENGELBERT
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DAVID JEHLEN                  1161         2525             43,768.75 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DAVID KAZEL                   2235         5734            146,666.67 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DAVID KITTREDGE KEAN           655          780             47,858.34 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DAWN MARIE VICTOR              603         4050             39,740.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DEAN M AND ARLETTE M
                                 1404          3984           238,912.23 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   RANDASH
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DEAN M RANDASH AND
                                 1403          3984           238,912.23 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   ARLETTE M RANDASH
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DEAN M RANDASH AND
                                 2039          3984           238,912.23 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   ARLETTE M RANDASH
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DEAN M RANDASH AND
                                 2040          3984           238,912.23 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   ARLETTE M RANDASH
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DEAN STRATSMA                 1222          6315            48,269.43 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DEBORAH L WINDEY               953         6402             33,475.82 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DENISE KARLA OBENHAUS         1476          2852           168,691.67 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DENISE KARLA OBENHAUS         1477          2852           168,691.67 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DENISE KARLA OBENHAUS          162          2852           168,691.67 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DENISE KARLA OBENHAUS          163          2852           168,691.67 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DENNIS & KATHLEEN
                                 1480         7045             48,308.33 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   WOLSTENOLME
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DENNIS A YOUNG                 184         9300            103,262.55 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DENNIS D SHAW TRUSTEE          183         3759            259,068.75 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DENNIS FRANCK                 2070         2588             81,911.02 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DIANE RUBY                     873         1718             29,870.83 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DONLIE P SMITH                 388         1577             78,870.88 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DONNA L NEWMAN                2409         3601             51,271.67 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DOREEN L LADE                 2076          7009            89,883.37 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DOREEN L LADE                 2077          7009            89,883.37 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DORIS A FRIED                 1451         4166             62,573.15 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DOUGLAS A MCCLINTIC           2267         2843             49,465.27 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DOUGLAS K
                                 7632         8901             46,625.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   STONEHOCKER
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DUANE D ODEGARD TRUST         1871          5412           663,816.75 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DUANE D ODEGARD TRUST         1872          5412           663,816.75 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DUANE D ODEGARD TRUST         1873          5412           663,816.75 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DUANE D ODEGARD TRUST         1874          5412           663,816.75 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DUANE D ODEGARD TRUST         1875          5412           663,816.75 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   DUANE D ODEGARD TRUST         1876          5412           663,816.75 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ELDON D SCHRAG & RUTH
                                  445         9096             56,908.33 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   M SCHRAG FAMILY TRUST
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ELIZABETH CRUZ                 339         8060             49,397.22 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ELIZABETH K F MUNK             607          4613           187,800.03 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ELTON LYNUM                    225         3959             49,358.33 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ESTATE OF HERMAN P
                                 2696          8748           312,542.68 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   GULLATT SR
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ESTATE OF HERMAN P
                                 2697          8748           312,542.68 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   GULLATT SR
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ESTATE OF HERMAN P
                                 2698          8748           312,542.68 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   GULLATT SR
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ESTATE OF HERMAN P
                                 2699          8748           312,542.68 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   GULLATT SR
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   ETHEL HILARIO                  604         4088             24,381.93 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   EVERETT MITCHELL TRUST        1564         5192             74,986.10 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   EVERETT MITCHELL TRUST        4285         5192             74,986.10 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FEN CHEN DYKMAN                337          165            104,283.29 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRANCES JEHLEN                1162         2737             47,959.37 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRANCIS K CLAPPER &
                                 1709         3101             68,323.48 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   DOROTHY A CLAPPER
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRANCIS L & SUSAN K
                                 7439          7273           136,943.18 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   GUIBERSON
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRANCIS L & SUSAN K
                                 7440          7273           136,943.18 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   GUIBERSON
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRANCIS L & SUSAN K
                                 8416          7273           136,943.18 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   GUIBERSON
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRANCIS L & SUSAN K
                                 9083          7273           136,943.18 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   GUIBERSON
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRANCIS L & SUSAN K
                                 9171          7273           136,943.18 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   GUIBERSON
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRANCIS L & SUSAN K
                                 9172          7273           136,943.18 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   GUIBERSON
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRANCIS L AND SUSAN K
                                 7438          7273           136,943.18 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   GUIBERSON
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRANK AND MARY NAPPI           82          3086            199,650.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRANK E KOSARICK              1800         3638            107,051.33 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRANK KISKO                    109         2611             16,956.22 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRED LOUIS                     998          9382           173,881.94 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   FRED LOUIS                     999          9382           173,881.94 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   GAIL KOHL                     5647         5965             24,341.67 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   GEORGE H WISE                 2012         2528             38,268.91 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   GEORGE J REITTER               942         7183             59,675.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   GEORGE MICHAEL
                                  128         8506            149,644.31 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   DRISCOLL
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   GEORGE STEPANOFF               911         7174             70,968.75 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   GERALD C REEVES               8453          9488           251,434.70 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   GERALD C REEVES               8454          9488           251,434.70 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   GERALD D GIENGER AND
                                 2034         8107            161,600.04 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   ANN C GIENGER
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   GERALD W & SUSAN
                                 2941          4053            83,690.27 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   HARDESTY
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HAIDEE & ADRIAN JAMES
                                 1464         8490            194,833.33 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   SANCHEZ
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HARVEY BAER AND
                                  180         7488             90,350.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   GERALDINE BAER
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HARVEY D BAER                 2213         7488             90,350.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HARVEY DICKSON                1935         5699             24,690.97 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HAZEN R THOMAS AND
                                  507         6028             24,091.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   SONJA M THOMAS
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HEALTH CORE TRUST             8615          9551           279,864.57 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HEALTH CORE TRUST             8623          9551           279,864.57 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HELGA VISCUSO                 8141          3048            69,638.33 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HENRY H HIGGINBOTHAM           223         3352            242,625.00 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HORIZON TR CO-FBO
                                 2677         6420            391,986.13 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   ALFRED CURTIS ROTH IRA
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
   HORIZON TRUST COMPANY                                                 The claim is being expunged because it was amended by a claim that was subsequently filed by
   CUSTODIAN FBO DAVID           2030         2785             72,874.80 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   RICH SEP IRA                                                          Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HOWARD & SUSAN VOGEL
                                 2282          9601            66,653.95 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   AS JOINT TENANTS
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HOWARD AND SUSAN
                                 2280          9601            66,653.95 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   VOGEL AS JOINT TENANTS
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HOWARD AND SUSAN
                                 2281          9601            66,653.95 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   VOGEL AS JOINT TENANTS
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HOWARD K & DELORES M
                                 1641          4041           314,867.47 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   SEAY
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HOWARD K & DELORES M
                                 1642          4041           314,867.47 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   SEAY
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HOWARD KENNETH &
                                 1646          4041           314,867.47 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   DELORES M SEAY
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HOWARD RUBIN                   150          6650           115,955.33 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   HUNG-CHANG W HUANG             147         5219             23,693.79 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
   IRA SERVICES TRUST CO                                                 The claim is being expunged because it was amended by a claim that was subsequently filed by
   CFBO PATRICIA A BENNETT       1123          115             39,766.67 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   IRA                                                                   Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
   IRA SERVICES TRUST                                                    The claim is being expunged because it was amended by a claim that was subsequently filed by
   COMPANY CFBO DENNIS           2796          6017           176,528.93 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   DLASK                                                                 Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
   IRA SERVICES TRUST                                                    The claim is being expunged because it was amended by a claim that was subsequently filed by
   COMPANY CFBO DENNIS           2797          6017           176,528.93 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   DLASK                                                                 Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
   IRA SERVICES TRUST                                                    The claim is being expunged because it was amended by a claim that was subsequently filed by
   COMPANY CFBO MAREK            3282         4273             48,796.25 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   BRYNIARSKI                                                            Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
   IRA SERVICES TRUST                                                    The claim is being expunged because it was amended by a claim that was subsequently filed by
   COMPANY CFBO MARIA            2794          6015           116,531.35 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   DLASK                                                                 Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
   IRA SERVICES TRUST                                                    The claim is being expunged because it was amended by a claim that was subsequently filed by
   COMPANY CFBO MARIA            2795          6015           116,531.35 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   DLASK                                                                 Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   IRENE FORD                     860         7182             74,687.50 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JACK HENNIGH & SUSAN A
                                  239          437             99,361.11 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   WHITMORE-HENNIGH
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JACKIE DORMAGEN               1478         3478            157,666.58 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JACKWAYS D KESLING
                                 2475          2831           874,785.77 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   INHERITED IRA
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JACKWAYS D KESLING
                                 2476          2831           874,785.77 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   INHERITED IRA
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JACKWAYS D KESLING
                                 2477          2831           874,785.77 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   INHERITED IRA
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JACKWAYS D KESLING
                                 2478          2831           874,785.77 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   INHERITED IRA
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JACKWAYS D KESLING
                                 2505          2831           874,785.77 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   INHERITED IRA
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JAMES AND GERALDINE
                                  168         8146             49,138.90 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   LINDSAY
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JAMES E & DIXIE L
                                  65           5211           575,138.90 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   MCALLISTER
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JAMES P AUSK &
                                 1562          4244            93,763.96 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   JOARLENE AUSK
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JAMES P AUSK &
                                 1563          4244            93,763.96 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   JOARLENE AUSK
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JAMES R SEYMOUR                204         9414             93,606.33 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JAMES W AND ROSEMARY
                                 10007        8810            112,934.66 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   WEST
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JAMESPAUL LIMATO              1004         7176            182,559.04 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JANET R LYLE                  1418          3825           237,153.73 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JANET R LYLE                  1419          3825           237,153.73 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JANET R LYLE                  1420          3825           237,153.73 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JEANNIE M FOWLER              2568         5933            308,994.17 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JEFFREY S GAROUTTE             480         7022             78,591.61 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JENNIFER L PITCAIRN           1154         7513             17,274.69 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JENNY CHIN                    1638         3746             47,486.77 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JERRY AND MELANIE
                                 9715          417            429,270.84 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   SKARYD
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JILL L MAENNER                10009         1428            83,902.71 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOANN & DEAN
                                  941         9255             93,666.62 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   STENSGAARD
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOANN MARIE BECVAR             875         8788             24,270.85 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOE C HOWELL                   254         5460            126,129.66 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHANNES MICHALSKI             298         9438            157,422.21 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHN B MATZ REVOCABLE
                                 2033         2591             65,904.96 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   LIVING TRUST
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHN FACQUE                    944         7181             23,753.44 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHN G SMITH                   832          9291           375,815.26 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHN GAIONI                   2497         4661             37,048.67 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHN GEORGE SMITH              833          9291           375,815.26 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHN GEORGE SMITH              834          9291           375,815.26 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHN J & JENNIFER
                                 1896          4150            48,399.26 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   NONNENMACHER
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHN J & JENNIFER
                                 1897          4150            48,399.26 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   NONNENMACHER
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHN L. PEZZOLA AND
                                 6962         8062             23,838.92 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   KATHY J. PEZZOLA
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHN M ALME AND JEAN E
                                 7161          7159           115,866.43 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   ALME
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHN M RYAN JR                2268          7287           138,072.36 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.


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                                                            Undisputed
                             Claim Number to Surviving
          Claimant Name                                     Amount of                                       Reason for Expungement
                               be Expunged Claim Number
                                                          Surviving Claim
   JOHN R DZUBAY                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   SUPPLEMENTAL NEEDS            2013         2812             89,601.34 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   TRUST                                                                 Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHN R SEGER TRUST
                                  823          4085           343,181.25 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   DATED NOVEMBER 18, 2008
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.
                                                                         The claim is being expunged because it was amended by a claim that was subsequently filed by
   JOHN R SEGER TRUST
                                  824          4085           343,181.25 the claimant. The surviving claim was previously allowed in the amount set forth pursuant to an
   DATED NOVEMBER 18, 2008
                                                                         Order sustaining a prior Omnibus Claims Obection or by stipulation with the claimant.




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                                                 EXHIBIT B1




1
    Capitalized terms used but not otherwise defined on Exhibit B shall have the meanings ascribed to such terms in
    the Objection.


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                                Modified
                                                    Claim      Filed          Modified        Reason for
    Claimant Name            Claimant Name
                                                   Number     Amount          Amount          Modification
                             (If Applicable)
                                                                                         The amount of the
                                                                                         claim is being
                                                                                         modified to conform
                                                                                         with the amount of
    BARRY M                                                                              the Net Note/Unit
                          HORIZON TR
    HACKER DOD                                                                           Claim set forth on the
                          CO-FBO BARRY               2551     $25,000.00      $23,450.00
    3/8/2017                                                                             claimant’s Ballot,
                          M HACKER IRA
    BENEFICIARY                                                                          which amount the
                                                                                         claimant did not
                                                                                         dispute in accordance
                                                                                         with the Disclosure
                                                                                         Statement Order.
                                                                                         The amount of the
                                                                                         claim is being
                                                                                         modified to conform
                                                                                         with the amount of
                                                                                         the Net Note/Unit
    ESTATE OF                                        10018    $25,000.00                 Claim set forth on the
                          ETHAL KAHN                                          $87,800.09
    ETHEL KAHN                                       10019    $75,000.00                 claimant’s Ballot,
                                                                                         which amount the
                                                                                         claimant did not
                                                                                         dispute in accordance
                                                                                         with the Disclosure
                                                                                         Statement Order.1
    ESTATE OF                                                                            The amount of the
    GRETA DELL                                       7724    $145,042.44                 claim is being
    ROBERTS                                                                              modified to conform
                                                                                         with the amount of
    ROBYN IRVING
                                                                                         the Net Note/Unit
    OBO THE
                                                                                         Claim set forth on the
    ESTATES AND           TMICO-FBO
                                                                                         claimant’s Ballot,
    IRA ACCOUNTS          JOHN V
                                                     9658    $144,000.00      $83,120.00 which amount the
    OF JOHN V &           ROBERTS TR
                                                                                         claimant did not
    GRETA D               IRA
                                                                                         dispute in accordance
    ROBERTS
                                                                                         with the Disclosure
    TMICO FBO                                                                            Statement Order.
    JOHN V                                           8708    $144,000.00
    ROBERT TR IRA

                                                                                         The amount of the
                                                                                         claim is being
                          PROV TR GP-
                                                                                         modified to conform
    LINDA L. WEBB         FBO LINDA L                10027    $26,529.68      $26,349.09
                                                                                         with the amount of
                          WEBB IRA
                                                                                         the Net Note/Unit
                                                                                         Claim set forth on the

1
     In addition, this claim was filed after the Bar Date.


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                                Modified
                                                     Claim          Filed          Modified       Reason for
    Claimant Name            Claimant Name
                                                    Number         Amount          Amount         Modification
                             (If Applicable)
                                                                                             claimant’s Ballot,
                                                                                             which amount the
                                                                                             claimant did not
                                                                                             dispute in accordance
                                                                                             with the Disclosure
                                                                                             Statement Order.2
                                                                                             The amount of the
                                                                                             claim is being
                                                                                             modified to conform
                                                       386        $200,000.00                with the amount of
                                                       460         $25,000.00                the Net Note/Unit
    PROV. TR GP-
                                                      7051         $25,989.17                Claim set forth on the
    FBO TROY                                                                     $201,153.92
                                                                                             claimant’s Ballot,
    GATTIS IRA                                        7053        $208,283.31                which amount the
                                                      9189        Unliquidated               claimant did not
                                                                                             dispute in accordance
                                                                                             with the Disclosure
                                                                                             Statement Order.




2
      In addition, this claim was filed after the Bar Date.

                                                              2
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